                Case 3:07-cr-05042-RBL         Document 99         Filed 10/17/07      Page 1 of 2



 1                                                                    HONORABLE RONALD B. LEIGHTON
 2
 3
 4
 5
 6
 7
 8                                    UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF WASHINGTON
 9                                             AT TACOMA
10     UNITED STATES OF AMERICA,
11                                                         Case No. CR07-5042RBL
                               Plaintiff,
12                     v.                                  ORDER
13     IBRAHIM JOZIN,
14                             Defendant.
15
16
17          THIS MATTER comes on before the above-entitled Court upon Defendant Jozin’s Motion for Foreign

18   Deposition of Jimi Jouzine [Dkt. #93].

19          Having considered the entirety of the records and file herein, the Court finds and rules as follows:

20          Defendant Jozin is charged in a two-count indictment with conspiracy to commit arson and arson. The

21   government alleges that he conspired with two co-defendants to set fire to the Galilee Cafe, a Vancouver,

22   Washington restaurant owned by his brother, Jimi Jouzine. Jozin has moved to take the deposition of Jimi

23   Jouzine pursuant to Fed. R. Crim. P. 15(a). The Rule provides that “[t]he court may grant the motion because

24   of exceptional circumstances and in the interests of justice.”

25          Mr. Jouzine is currently living in Galilee, Israel. He self-deported to Israel after receiving notice from

26   the Department of Homeland Security that he should report to the authorities for the purposes of being

27   removed from the country. He is a person of interest to federal law enforcement in the arson. Therefore, he

28   is unavailable as a witness and exceptional circumstances exist for the taking of his deposition. Furthermore,


     ORDER
     Page - 1
                 Case 3:07-cr-05042-RBL           Document 99         Filed 10/17/07      Page 2 of 2



 1   it is in the interest of justice to allow his deposition because it appears that his testimony would be relevant and
 2   material to the defendant’s defense. It is therefore
 3             ORDERED that Defendant Jozin’s Motion for Foreign Deposition [Dkt. #93] is GRANTED.
 4             The Clerk shall send uncertified copies of this order to all counsel of record, and to any party appearing
 5   pro se.
 6             Dated this 17th day of October, 2007.


                                               A
 7
 8
                                               RONALD B. LEIGHTON
 9                                             UNITED STATES DISTRICT JUDGE
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


     ORDER
     Page - 2
